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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________x

UNITED STATES OF AMERICA,


            -v-
                                                Case No.     19-CR-245 (SJF)
VALERIE CINCINELLI

                  Defendant.
_______________________________________x




                    DEFENDANT’S MEMORANDUM OF LAW
                     IN SUPPORT OF BAIL PENDING TRIAL




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Exhibit A:   Complaint

Exhibit B:   Detention Hearing Transcript

Exhibit C:   Detention Memorandum by the United States

Exhibit D:   Certificate of Disposition

Exhibit E:   Order of Dismissal

Exhibit F:   Order of Protection in Favor of Valerie Cincinelli

Exhibit G:   Unfounded Child Abuse Complaint

Exhibit H:   Text Message Screenshot

Exhibit I:   Text Message Screenshot

Exhibit J:   NYS Unified Court System WebCrims Summary

Exhibit K:   New York Daily News Article

Exhibit L:   Training Certificates & Awards

Exhibit M:   Soldier of the Year Award

Exhibit N:   Domestic Incident Reports

Exhibit O:   Orders of Protection

Exhibit P:   Office of the District Attorney, Nassau County Letter

Exhibit Q:   Anger Management Referral

Exhibit R:   Order of Custody and Parenting Time




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Exhibit S:   Valerie Cincinelli Documentation

Exhibit T:   Sal and Danielle Cincinelli Documentation

Exhibit U:   James and Patricia Baxter Documentation

Exhibit V:   Michael and Deborah Kosta Documentation

Exhibit W:   Sal Cincinelli Documentation

Exhibit X:   Danielle Cincinelli Documentation

Exhibit Y:   Louis B. Cincinelli Documentation

Exhibit Z:   Louis M. Cincinelli Documentation

Exhibit AA: Nicholas Cincinelli Documentation

Exhibit BB: Richard Sautner Documentation

Exhibit CC: Michael Kosta Documentation

Exhibit DD: Patricia Baxter Documentation




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________x

UNITED STATES OF AMERICA,


               -v-                                           Case No.       19-CR-245 (SJF)

VALERIE CINCINELLI,

                  Defendant.
_______________________________________x



                                PRELIMINARY STATEMENT

       Defendant Valerie Cincinelli submits this Memorandum of Law in support of her
application for pre-trial release on conditions pursuant to 18 U.S.C. § 3142. It is respectfully
submitted that Ms. Cincinelli does not pose an actual risk of flight, is not a danger to the
community, and that there are conditions of release which will assure her full compliance with this
Court’s directives to appear and to answer the charges herein. Accordingly, we ask that pre-trial
release be granted in this case and that a bond in the amount of $1,500,000.00 be set by the Court
secured by the properties and suretors listed below and strict pretrial conditions, including the
surrender of all travel documents, travel restrictions to the Eastern, and Southern Districts of New
York, strict pre-trial supervision including home detention, electronic monitoring and restricted
computer and cell phone use. Her father, a retired lieutenant in the NYPD has agreed to move in
with Ms. Cincinelli should she be released.


                                        BACKGROUND

       On May 17, 2019, Valerie Cincinelli was arrested on a complaint and charged with a
violation of Title 18, United States Code, Sections 1958 (a) and 2 (See, Complaint, 19 MJ 474,
attached hereto as Exhibit A). The complaint charged Ms. Cincinelli with attempting to cause or
causing another to travel across state lines and using a facility in interstate commerce, with the
intent that one or more murders be committed as consideration for the receipt of and consideration
for a promise and agreement to pay something of pecuniary value. A detention hearing was


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conducted before the Honorable Anne Y. Shields, United States District Court Judge on May 17,
2019 (See, Detention Hearing Transcript, attached hereto as Exhibit B).
         In support of the government’s application for detention pending trial, the government
submitted a detention memo for the Court’s consideration prior to the arraignment (See, Detention
Memorandum, attached hereto as Exhibit C). In the government’s detention memo, the
government acknowledged that it bears the burden of proving dangerousness by clear and
convincing evidence (See, Exhibit C, page 3; citing, United States v Sabhnani, 599 F.3d 215 (2d
Cir. 2010).1 The government maintained that any release on bail would pose a danger to the safety
of the intended victims and that there was a risk that Ms. Cincinelli would attempt to obstruct
justice. This was predicated on the information provided by John Dirubba, bank records, and
recordings made by Dirubba in May, 2019 during which it is alleged that the plot was discussed.
         The government alleged that Ms. Cincinelli proposed the murder for hire plot to her
boyfriend in February, 2019 and that he agreed to find someone to kill Ms. Cincinelli’s estranged
husband and his own daughter. Thereafter, also allegedly in February, 2019, Ms. Cincinelli
withdrew $7,000.00 from her bank account and gave it to her boyfriend, who in turn converted the
cash to gold coins worth $6,935.00, presumably to pay the hitman. It is alleged that the boyfriend
and Ms. Cincinelli discussed the murder for hire plot both in person and over phone and that
“some” of these discussions were consensually recorded by Dirubba at the direction of law
enforcement.
         It appears, however, that Dirubba did not report this alleged plot to the authorities until
May, 2019, approximately three months after it was allegedly proposed and paid for. On the date
of Ms. Cincinelli’s arrest, Dirubba showed her a photograph – which was staged by the authorities
- depicting the murder of her estranged husband. It is alleged that she told Dirubba to delete the
messages and photographs.
         With regard to Ms. Cincinelli’s personal history, the memo cited her prior relationships
and erroneously asserted that her first husband had obtained an order of protection against her in
2014. The detention memo further noted, erroneously, that her second husband (and one of the
victims in this case) had an order of protection against Ms. Cincinelli. As will be demonstrated,


1
 This citation is actually to the Sabhnani decision appealing the conviction and not to the bail determination. Of note,
the Court had previously granted Sabhnani’s request for release pending sentence after his conviction for crimes of
violence, citing the exceptional circumstances of permitting the defendant to arrange for the affairs of his business and
family’s financial affairs for the benefit of his children. This and other cases are discussed below.


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infra, the only orders of protection relating to both Ms. Cincinelli’s first common law husband and
her second husband were in her favor.2 The government further noted that “while [Ms. Cincinelli]
is a New York City Police Officer” she has been brought up on charges, some of which were
founded by the department in 2017. As will be demonstrated, infra, those charges were based on
allegations that John Dirubba – the government’s main witness in this case - has admitted under
oath and on more than one occasion were fabricated for his own twisted motivations and benefit.
         At the detention hearing the government reiterated the arguments made in the detention
memo, and further amplified the presentation with allusions to prior “volatile relationships” which
preceded the events in question. In support of this allusion to Ms. Cincinelli’s purported volatility
the Government once again cited orders of protection purportedly lodged against her, and implied
that she had a history of aggression toward others with whom she had relationships (Exhibit B,
page 4-5). The Court noted its understanding that the only order of protection in Ms. Cincinelli’s
favor was with respect to her “current” boyfriend (Exhibit B, page 6). The government further
relied on the fact that while Ms. Cincinelli was employed as a New York City police officer she
had been disciplined in 2017 and was currently on modified duty (Exhibit B, page 8). Once again,
as will be discussed, infra, the government’s reliance on these alleged facts was misplaced. The
government also stressed that this “plot” was hatched within Ms. Cincinelli’s home and that “any
suretor that the defendant might propose for a risk of flight doesn’t then equal a safety to the
community” (Exhibit B, page 7).
         As Ms. Cincinelli had been arrested only hours before the detention hearing, defense
counsel was not in a position to investigate the allegations or rebut the government’s view of the
evidence. Counsel cited Ms. Cincinelli’s personal history and presented a bail package supported
by Ms. Cincinelli’s family. Notwithstanding Ms. Cincinelli’s life long roots in the community, the
fact that she has been a member of the New York Police Department for over a decade and is the
mother of two young children, the Court ordered her detention based upon danger. We submit that
the more detailed presentation made herein, along with the bail package proposed, should satisfy
the Court that this is not the open and shut case posited by the government and that there are
reasonable conditions that will ameliorate any concerns as to danger. The government does not



2
 Ms. Cincinelli was never married to Erik Groh, the father of her first child. Mr. Groh and Ms. Cincinelli have
maintained a friendly relationship as co-parents to their ten-year old daughter. As to the order of protection in favor
of the boyfriend, as will be set forth, infra, this was vacated weeks after it was issued.


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assert that Ms. Cincinelli poses a flight risk.
        On or about May 30, 2019, Ms. Cincinelli was indicted on two counts of Murder for Hire
and one count of Obstruction of Justice (18 U.S.C. §§1958(a) and 3553 et seq; 18 U.S.C. §1512(e),
1512(c)(2) and 3553 et seq. The case has been assigned to this Honorable Court.
        Since Ms. Cincinelli’s arrest, many critical facts have emerged that significantly affect the
purported strength of the government’s case. These facts include information that forcefully rebuts
the government’s detention hearing assertions regarding Ms. Cincinelli’s alleged volatility. They
also include information regarding Dirubba that proves he is an inveterate liar who has admitted
repeatedly in recent and sworn statements that he, on more than one occasion, has framed and
falsely accused Valerie Cincinelli of crimes and other bad acts in Queens Criminal Court, in
Queens Family Court, and with the Internal Affairs Bureau. It was, importantly, these false
allegations by Dirubba that precipitated the discipline imposed on Ms. Cincinelli by the NYPD,
and it was that discipline which the government in turn relied upon, in part, in support of its
argument for detention. Finally, we have received and reviewed the tapes of the conversations
which the government has cited as compelling evidence of guilt. We respectfully submit that they
present powerful evidence of her innocence. Taken together, we are confident that this Court will
regard these facts, set forth in detail below, as significant and sufficient to support the release on
bond we seek herein.
        While we readily acknowledge the seriousness of the charged offenses, we respectfully
submit that, in comportment with the Constitution and the requirements of 18 U.S.C. § 3142, there
are reasonable conditions of release sufficient to assure the Court of Ms. Cincinelli’s appearance
as directed and allay any concerns as to danger. Ms. Cincinelli is 35 years of age, a mother of two
young children, a college graduate and a decorated 12-year veteran of the New York City Police
Department. As a police officer she is in danger while incarcerated, and she is currently in need of
continued medical care due to an injury she sustained after being attacked by a prisoner she was
escorting in Brooklyn arraignments. She will abide by any and all conditions and restrictions the
Court imposes. Her father, a 27-year veteran of the police department, has agreed to live with and
watch over Ms. Cincinelli. Her brother, a law enforcement officer for 8 years, lives within minutes
of her house and he, along with several other family members, will be present at her home on a
daily basis.
        We have secured a substantial bail package for the Court’s consideration and respectfully



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 submit that when the facts herein are considered in a more informed and accurate context and in
 conjunction with the remaining statutory factors, Ms. Cincinelli emerges as a viable candidate for
 release on a significant bond with strict conditions. Contrary to the government assertions, Ms.
 Cincinelli does not pose a danger to the community nor is there any demonstrable risk that she will
 obstruct justice. Therefore, it is respectfully submitted that Ms. Cincinelli’s detention is
 unwarranted under the facts and circumstances herein.




                            THE LAW ON PRE-TRIAL DETENTION

        Bail is enshrined in our constitutional history and tradition. In Stack v Boyle, 342 U.S. 1
 (1951), the United States Supreme Court affirmed our long-standing societal interest in freedom
 from pretrial detention:
                From the passage of the Judiciary Act of 1789 to the present Federal
                Rules of Criminal Procedure, federal law has unequivocally
                provided that a person arrested for a non-capital offense shall be
                admitted to bail. This traditional right to freedom before conviction
                permits the unhampered preparation of a defense, and serves to
                prevent the infliction of punishment prior to conviction. Unless this
                right to bail before trial is preserved, the presumption of innocence,
                secured only after centuries of struggle, would lose its meaning.

 As punishment by imprisonment comes only after conviction by proof beyond a reasonable doubt,
 pretrial detention is authorized in limited circumstances and only on an adequate showing that that
 the defendant poses a danger to the community or is likely to flee prior to trial. United States v.
 Salerno, 481 U.S. 739 (1987); United States v Paulino, 335 F. Supp. 3d 600 (2018). Under our
 Constitution, preventive detention “has been and should remain the exceptional practice.” United
 States v Scarpa, 815 F. Supp. 88 (1993). As the Supreme Court stated in United States v Montalvo-
 Murillo, 495 U.S. 711 (1990):
                It is well to remember the magnitude of the injury that pretrial
                detention inflicts and the departure that it marks from ordinary forms
                of constitutional governance. Executive power to detain an
                individual is the hallmark of the totalitarian state. Under our
                Constitution the prohibition against excessive bail, the Due Process
                Clause of the Fifth Amendment, the presumption of innocence –
                indeed, the fundamental separation of powers among the


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                Legislative, the Executive and the Judicial Branches of Government
                – all militate against the abhorrent practice. Our historical approach
                eschewing detention prior to trial reflect these concerns…

 Liberty before a criminal trial is, and has always been the “norm” (United States v Paulino, supra,
 citing, United States v Salerno, supra, at 755).
        The Bail Reform Act of 1984 included consideration of danger to the community as a
 relevant factor in bail determinations and authorized pretrial detention where “no condition or
 combination of conditions will reasonably assure the appearance of the person as required and the
 safety of any other person and the community” (United States v Paulino, 335 F. Supp. 3d 600
 (2018); citing, United States v Chimurenga, 760 F.2d 400, 403 (2d Cir. 1985). This inclusion of
 danger to the community reflected the concerns for safety, however, with the “recognition that
 there is a small but identifiable group of particularly dangerous individuals as to whom neither
 the imposition of stringent release conditions nor the prospect of revocation of release can
 reasonably assure the safety of the community” (United States v Paulino, supra, at 608; [emphasis
 in original]; quoting, S. Rep. No. 98-225, at 6-7, as reprinted in 1984 U.S.C.C.A.N., at 3188-
 3189); see also, United States v Shakur, 817 f.2d 189, 195 (2d Cir. 1987)[The BRA itself requires
 that a court should “bear in mind that it is only a ‘limited group of offenders’ who should be denied
 bail pending trial]; United States v Salerno, 481 U.S. at 755 [“detention prior to trial or without
 trial is the carefully limited exception” to liberty before trial]. As Judge Andrew Carter made clear
 in Paulino, supra, these tenets must be scrupulously adhered to in order to sustain the presumption
 of innocence in the pre-trial stages:
                One charged with a crime is, after all, presumed
                innocent. Stack, 342 U.S. at 4, 72 S.Ct. 1. A single individual
                unnecessarily detained before trial is one individual too many, and
                the increasing use of the practice places tremendous wear on our
                constitutional system. United States v. Montalvo-Murillo,495 U.S.
                711, 723-24, 110 S.Ct. 2072, 109 L.Ed.2d 720 (1990) (Stevens, J.,
                dissenting, joined by Brennan and Marshall, JJ.). Due to the crucial
                interests involved, it follows that a "case-by-case" approach is
                required at any stage of the case in assessing the propriety of pretrial
                detention. See United States v. Gonzales Claudio, 806 F.2d 334, 340
                (2d Cir. 1986) (citations omitted) (discussing due process analysis
                for evaluating propriety of prolonged pretrial detention, and the
                interests at stake), cert. dismissed sub nom., Melendez-Carrion v.
                United States, 479 U.S. 978, 107 S.Ct. 562, 93 L.Ed.2d 568 (1986).




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 Paulino, supra, at 609.
        The Bail Reform Act requires the release of a defendant on the “least restrictive” conditions
 necessary to “reasonably assure . . . the safety of any other person and the community.” 18 U.S.C.
 § 3142(b)(1)(c). The government must prove, by clear and convincing evidence, that the defendant
 poses a danger to the community or a risk of flight that “no conditions or combination of
 conditions” will alleviate. 18 U.S.C. § 3142(e) and (f). The government thus bears a “high burden”
 to justify detention. United States v Chimurenga, 760 F.2d 400 (2d Cir. 1985); See also, United
 States v Sabhnani, 493 F.3d 63 (2d Cir. 2007).
        18 U.S.C. § 3142 (g) delineates the factors to be considered by a judicial officer in making
 a determination as to whether conditions exist that will reasonably assure the appearance of the
 accused as required and the safety of any other person and the community. These considerations
 are generally separated into two categories: the nature of the offense and the personal
 characteristics of the accused. The relevant factors include the nature and circumstances of the
 offense charged, including whether the offense is a crime of violence or it involves a narcotic drug,
 the weight of the evidence against the accused, the history of the accused, including her character,
 family ties, employment, financial resources, length of residence in the community and community
 ties, history relating to drug abuse, criminal history, and past record of appearing at court ordered
 appearances. With regard to whether a defendant poses a danger to the community, the court
 should consider “the nature and seriousness of the danger to any person or the community that
 would be posed by the person’s release” (18 U.S.C. § 3142(g)(4)).
        While safety is a concern for any court assessing cases involving violence, these concerns
 can be, and have been, addressed with pre-trial release conditions. In Chimurenga, supra, the
 Second Circuit affirmed the lower court’s holding that the defendant did not pose a danger to the
 community notwithstanding the crimes of violence with which he was charged. The defendant was
 alleged to be the leader of a gang responsible for an armed robbery in Nanuet, New York which
 resulted in the death of an armored truck guard and two police officers. There was a wealth of
 evidence, including taped conversations concerning the murders and means of flight in the face of
 potential imprisonment. In Paulino, supra, Judge Carter wrote extensively on why he concluded
 that the defendant, an alleged gang member, should be released on a bond. The charges involved
 the beating and stabbing of a minor who was alleged to be a member of a rival gang. In Sabhnani,
 supra, the district court permitted the defendant released on bail, after he was convicted of crimes



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 of violence, in order to put his affairs in order in preparation for sentence.
         In United States v Jamel McTier, 17-cr-557 (FB), Judge DeArcy Hall, sitting as a
 miscellaneous district court judge, conducted hearings on the government’s appeal from a
 magistrate’s decision to grant bail. The government’s argument as to danger was grounded in the
 defendant’s prior attempted murder conviction, prior domestic violence and alleged gang
 affiliation. After due deliberation, Judge Hall released the defendant on home detention with strict
 conditions.
         These cases make clear that the existence of safety concerns with respect to an individual
 defendant does not, a fortiari, justify detention. It is respectfully submitted that after consideration
 of the above factors, this Court should conclude that there are indeed appropriate and sufficient
 conditions of release which should be granted to Valerie Cincinelli. A district court reviews a bail
 determination de novo (United States v Paulino, supra). We ask that Your Honor do so in this case
 and grant Ms. Cincinelli pre-trial release on the strict conditions imposed below.


     THE NATURE AND CIRCUMSTANCES OF THE OFFENSE AND POTENTIAL
                            PUNISHMENT

         The crimes with which Ms. Cincinelli has been accused are indeed serious and involve
 allegations of violence. The government has asserted that in February, 2019, Ms. Cincinelli
 approached a confidential source, her ex-boyfriend John Dirubba, and asked him to find someone
 to kill her estranged husband and Dirubba’s daughter. It is further alleged that Ms. Cincinelli
 withdrew $7,000.00 from a bank account in February, 2019 and that Dirubba, on the same day,
 converted the funds to gold coins worth $6,935.00 to pay the “hitman” he apparently found in short
 order. Three months later Dirubba went to the FBI to report this crime and began recording “some”
 of the conversations with Ms. Cincinelli and facilitating her eventual arrest. We recognize that
 portions of the recordings are troubling. However, other portions make it palpably clear that Ms.
 Cincinelli never actually believed that Dirubba would carry out his plan to commit these murders
 and that she most certainly did not pay him to do so. As such, these tapes are as exculpatory for
 the defense as the government contends they are incriminating for its prosecution. Moreover, the
 facts and events preceding the May, 2019 tapes are an integral part of this story as they demonstrate




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 the dubious credibility of the equally central figure in this case, John Dirubba.3 Clearly, there is
 more to this case than the conversations recorded by Dirubba in the week preceding Ms.
 Cincinelli’s arrest.
          The government’s case in large part rests upon the assertions and credibility of John
 Dirubba. Dirubba’s past history, including his past admittedly false accusations against Ms.
 Cincinelli, go far to demonstrate both his lack of credibility and his propensity to falsely accuse
 Ms. Cincinelli of serious offenses. These false accusations – always lodged after Ms. Cincinelli
 broke up with Dirubba - were designed as a cudgel to force her to accept him back into her life.
 His posture was simple – “break up with me and I will ruin you”.
          Ms. Cincinelli met John Dirubba sometime in 2017 as her relationship with her then
 husband, Isaiah Carvalho, was deteriorating. Within months, Dirubba revealed himself to be a
 manipulative and extremely possessive individual. When Ms. Cincinelli attended her brother’s
 wedding in Virginia - to which Dirubba was not invited - he insisted on driving her there and
 waiting for her. He stalked her by waiting by her highway exit and then following her, and
 otherwise monitoring her whereabouts. He constantly called and texted her to find out where she
 was. Dirubba was also a financial drain on her, and as related by many to the undersigned, a thief.
 He used her credit card without her permission on many occasions, and repeatedly borrowed
 money from her. On two occasions, he borrowed money to buy gold coins that he later claimed to
 have resold at a profit.4 He also stole Ms. Cincinelli’s jewelry and denied it when she confronted
 him about it. Later, he admitted the theft and returned the purloined jewelry sporadically over the
 course of eight months.
          For these reasons and more, Ms. Cincinelli repeatedly broke off the relationship with
 Dirubba. What followed was a veritable onslaught by Dirubba of false accusations against her to
 various authorities, all of which were designed to threaten her career as a decorated police officer
 and to otherwise disrupt her life. Invariably, after each incident, Dirubba implored Ms. Cincinelli
 to reconcile with him by promising to reimburse her and to discontinue his problematic behavior.
 Predictably, he never kept that promise and instead resumed his dysfunctional behavior.



 3
  There are no tape-recorded conversations supporting Dirubba’s claims prior to May, 2019.
 4
  On the first occasion, Dirubba used Ms. Cincinelli’s credit card without her permission to buy gold and on the second
 occasion he borrowed the money to buy coins. These purchases pre-dated the purchase of coins he made in February,
 2019.


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         The barrage of complaints and accusations were staggering in their admitted falsity and
 consequent disruption to Ms. Cincinelli’s life and career. His first complaint to IAB was in
 November, 2017 when he accused Ms. Cincinelli of wrongdoing after a disagreement. As a result
 of this allegation, Ms. Cincinelli was placed on modified duty and transferred. Over the next
 several months, Dirubba called her incessantly to reconcile. After she refused his overtures and
 changed her phone number several times, he retaliated by filing a Petition and a request for an
 Order of Protection in Queens County Family Court on February 13, 2018 alleging that Ms.
 Cincinelli threatened him with her gun. He then filed a complaint with the police and had Ms.
 Cincinelli arrested on March 5, 2018 in Queens County for Criminal Contempt and Aggravated
 Harassment. This precipitated yet another IAB investigation resulting in the discipline referred to
 by the government during the initial bail application in this case. Ms. Cincinelli was re-assigned
 to arraignments in Kings County where she was brutally attacked by a prisoner who assaulted her
 and attempted to rape her.5 At some point Dirubba even accused her of child abuse. However, as
 demonstrated below, these were all false allegations and Dirubba admitted as much, in sworn
 statements and direct (taped) interviews, to all of the agencies to which he complained.
         On April 13, 2018, only two months after filing the allegations of contempt and harassment
 in the Queens criminal matter, Dirubba withdrew them and the charges were dismissed. (See,
 Certificate of Disposition, attached hereto as Exhibit D). We have ordered the transcripts to this
 proceeding but have not received them as of this writing as the matter was dismissed and sealed.
 However, individuals in attendance at the proceeding have informed the undersigned that before
 the matter was dismissed Dirubba withdrew the complaint on the record stating that he “made it
 up”. Moreover, in a taped telephone interview with Investigator Sgt. Behrman from IAB relating
 to the Queens case and the IAB charges, Dirubba admitted that Ms. Cincinelli “didn’t do nothing
 wrong at all”, that he “signed a letter with the DA”, admitting “that I made it up” and that
 “everything was not true”.6 Dirubba made it clear that he was admitting these lies “on his own”.
 He also referred to a sworn and notarized letter that he had submitted to IAB and to a similar letter
 that he had submitted to the Queens District Attorney’s Office admitting the falsity of his
 allegations. He further admitted that the complaint he made to IAB was equally false. He


 5
   Ms. Cincinelli sustained a rotator cuff injury during the struggle for which surgery was required. The attacker is
 being prosecuted by the Kings County District Attorney’s office.
 6
   We have reviewed the IAB tapes and will provide them to the Court upon request. The government has informed
 the undersigned that they too have reviewed these recordings.


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 repeatedly stated that he had been attempting to communicate the utter falsity of his allegations
 and that the matter should be dropped.
         That Dirubba’s remaining allegations were contrived is well documented. On March 15,
 2018, just one month after he made his allegations in Family Court upon which the Queens
 criminal case was predicated, the order of protection and the petition he obtained were vacated.
 (See, Order of Dismissal, attached hereto as Exhibit E). In the end, there was only one legitimate
 order of protection during this period and it was filed on March 8, 2018 in favor of Ms. Cincinelli
 and against Mr. Dirubba. (See, Order of Protection in favor of Valerie Cincinelli, attached hereto
 as Exhibit F). As to the child abuse allegations Dirubba reported, Social Services investigated the
 matter and concluded that the allegations were unfounded. Dirubba did not contest that finding
 (See, Unfounded Child Abuse Complaint, attached hereto as Exhibit G).
        These facts, and Dirubba’s admissions that he repeatedly framed Ms. Cincinelli, are
 important for two reasons. First, to the extent that the magistrate relied upon statements by the
 government implying a prior violent propensity by Ms. Cincinelli, it is clear that Ms. Cincinelli
 has been a victim of abuse and not a purveyor of it. Moreover, the discipline imposed by the NYPD
 and relied upon by the government in their presentation to the magistrate was, in large part, the
 result of Dirubba’s admittedly false allegations. Most importantly, these facts demonstrate that
 Dirubba has manipulated facts and perjured himself on several occasions in his self-described
 quest to “ruin” Ms. Cincinelli’s career and life when she would no longer put up with his lying and
 stealing from her. This, we submit, is exactly what happened in the present case. The timing and
 circumstances of the present case are strikingly consistent with this past pattern of false allegations.
        Sometime before April 28, 2019, Ms. Cincinelli again broke up with Dirubba and kicked
 him out of her house. On or about April 28, 2019, less than a week before Dirubba went to the
 FBI, he texted Ms. Cincinelli complaining that he had nowhere to go and that he would pay her
 $200.00 a night to sleep on her couch until he got his money back from his bookie. Days later
 Dirubba, texted her:
                 I wish I had the money right now to come over and give to you that
                 I really do but I don’t and I have to suffer for it for the poor decisions
                 that I made please don’t judge me…I really wish I had the money in
                 my pocket to come to you but I don’t…




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 (Attached hereto as Exhibit H, is the screenshot of Dirubba’s text). We have subpoenaed
 telephone records for this account, however Boost Mobile does not retain the content of text
 messages. They are, however, preserved on the cellphone seized by the government).
         Following this text, Ms. Cincinelli allowed Dirubba to come back into the house.
 Sometime in early May, 2019 she gave Dirubba an ultimatum to either pay her the $15,600.00 he
 owed her or leave her home. On May 2, 2019 Dirubba texted Ms. Cincinelli setting forth how he
 would pay her back (See, screenshot of May 2, 2019 text attached hereto as Exhibit I). The two
 even created a schedule of payments which was preserved in Ms. Cincinelli’s phone. Dirubba
 failed to abide by the agreement and Ms. Cincinelli told him to leave. In a manner strikingly similar
 to his past pattern of false allegations, within days Dirubba went to law enforcement with the
 current allegations. He then weaseled his way back into the house and began eliciting the
 statements made on the tapes. It is these statements which the government maintains provide
 compelling proof of these charges. We respectfully disagree.
        Many of Ms. Cincinelli’s statements are troublesome and yet, two critical facts emerge
 from these tapes. These tapes clearly demonstrate that Ms. Cincinelli did not pay Dirubba to kill
 anyone and that she never believed that he would follow through on his supposed plans to hire a
 hitman. During these taped conversations, orchestrated by law enforcement and designed to elicit
 the elements of the murder for hire statute (18 U.S.C. §1958), Dirubba mentions money several
 times. Indeed, he has to in order to provide the evidence sought by the government. But, never
 once did Ms. Cincinelli refer to paying Dirubba, even when the context would have demanded it.
 Indeed, rather than responding to his mention of money with the claim that she already paid him,
 she merely mocks him with his own words: that he had a friend who “owes you a favor” and “he
 owed you a favor and you don’t have to pay him anything”. Section 1958 requires that something
 of “pecuniary value” be paid for a murder for hire plot to be established. The Second Circuit has
 spoken directly to what is required for this element (United States v Frampton, 383 F.3d 213, 218-
 2019(2d Cir. 2004)[holding that “a favor” was insufficient to satisfy the pecuniary value element
 of §1958]; See also, United States v Davis, 14 Cr. 296 (Forrest, K. United States District Court
 Judge 2015)[granting a rule 29 motion dismissing the Murder for Hire charge holding that a vague
 promise of something in the future was insufficient to satisfy the pecuniary value element]. These
 statements debunk any notion that she agreed to, or ever paid Dirubba to, commit murder.




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         Moreover, Dirubba’s claims that Ms. Cincinelli paid him $7,000.00 to commit two murders
 defy common sense. He claims the February, 2019 withdrawal of $7,000.00 by Ms. Cincinelli was
 for a hitman, and yet he took the money and bought gold coins worth less than $7,000.00 What hit
 man not only wants payment in gold coins, but in an amount that is less than he is charging? In
 actuality, the explanation for Dirubba’s purchase of gold coins is in his past, for it can be no
 coincidence that on two prior occasions Dirubba borrowed or took the same amount of money
 from Ms. Cincinelli - $7,000.00 – in order to buy gold coins because he fancied himself
 knowledgeable in the price fluctuations of gold.7 Ms. Cincinelli did not pay Dirubba to hire a hit
 man.
         Moreover, these tapes make it abundantly clear that Ms. Cincinelli never intended for
 Dirubba or any hitman to commit murder. Ms. Cincinelli’s reaction to Dirubba after the police
 appeared at her house with the news that her husband has been killed makes it clear that she never
 believed he would commit these murders. While Ms. Cincinelli is sobbing after hearing the news
 that her husband is dead, Dirubba, clearly searching for words to elicit incriminating statements,
 says: “[y]ou knew this was going to happen”. Ms. Cincinelli, weeping uncontrollably, responded,
 “I didn’t believe you. I never believe you. You … lie about everything”. Dirubba continues fishing
 for more and again Ms. Cincinelli responds “I really, I like really, really can’t believe this. Like, I
 thought you were full of shit. You’re always full of shit. You f…..g lie about everything….You
 f…….g lie about everything since the day I f…….g met you”. These words were not spoken for
 the benefit of the voice recorder in order to establish a defense – Ms. Cincinelli did not know she
 was being recorded. These words reflect her sincere reaction to the news of her husband’s death,
 and were expressed during what she thought was a private conversation with Dirubba. Manifestly,
 these words and emotions are not those of a woman who was involved in a conspiracy to commit
 murder. During this private moment with her supposed conspirator, the government no doubt
 expected to get verification of the murder plot, perhaps to even capture evidence of some glee that
 it was actually accomplished. Instead, what they got was proof of her utter disbelief and
 devastation at what she believed Dirubba had done. This was her chance to seal the fate the
 government asserts should befall her now. Instead her response was the truth. She never intended
 or believed he would do this.


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  We are aware of the gold dealer he bought the gold from and are awaiting bank records which will reflect the
 withdrawals.


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        Dirubba currently has a pending felony case in New York County in which he has been
 charged with Robbery in the Third Degree and Grand Larceny (See, New York State Unified Court
 System WebCrims Summary, attached hereto as Exhibit J). In that case Dirubba is accused of
 stealing a $54,000.00 diamond ring from a man he agreed to purchase the ring from. Instead of
 paying for the ring, he is accused of telling his victim “that he had a gun with him”, that the victim
 “best leave” his vehicle or be shot and that he was “connected with Gotti people”. Interestingly,
 this arrest occurred in January, 2019, just one month before he took $7,000.00 from Ms. Cincinelli
 to buy gold coins, not for any hitman but for himself. While Dirubba dramatically expressed his
 anguish over the Cincinelli matter to the press on May 21, 2019, just after a court appearance, his
 neighbors were simultaneously describing him as “a con man” who had amassed over $20,000.00
 in unpaid rent. His former landlord told an interviewer that he asked Dirubba at one point “Why
 are you doing this?” The landlord then opined to the interviewer, “He’d tell 10 lies to cover one”
 (See, New York Daily News Article, attached hereto as Exhibit K). Indeed he is an admitted liar.
 He has sworn to being a liar and perjurer and he has lied, by his own admission, to destroy Valerie
 Cincinelli.
        In sum, these facts and documentary corroboration cast significant doubt on the credibility
 of the man who the jury would need to believe in order to convict Ms. Cincinelli of the crimes
 charged. While the government will assert that the recordings provide all the proof necessary to
 sustain their burden, they do not. There is undoubtedly much context, and many conversations that
 Dirubba chose not to record, that the jury will need to consider. The tapes offer substantial proof
 that Ms. Cincinelli never paid Dirubba to commit murders, never believed the murders were going
 to be committed, and therefore never intended them to be committed. These are critical facts
 relevant to necessary elements of the crime charged, and they directly affect the strength of the
 government’s case. For purposes of this application they certainly affect the analysis of whether
 Ms. Cincinelli poses a danger to the community or the purported victims in this case.
        The government’s assertion that Ms. Cincinelli is a danger to the community was based in
 part on the allegations that Dirubba filed and later recanted, a fact that was not addressed by the
 government nor considered by the Court during the bail hearing. The government further asserts
 that Ms. Cincinelli poses a danger to the intended victims because she “hatched” this plan in her
 home. We respectfully disagree. Most individuals charged with crimes commit them and certainly
 discuss them in their homes. They are often released and confined to their homes. The notion that



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 releasing Ms. Cincinelli to her home, with her father, on a substantial bond with the restrictions
 proposed would somehow elevate the non-existent danger to the community is without merit. The
 question is not where Ms. Cincinelli can be released to. The question is whether she poses a danger
 to anyone. The government cannot be suggesting that if released to her home Ms. Cincinelli will
 seek out another Dirubba and hire this person to harm these or any other individuals. She will be
 confined to her home without any means of communication other than to communicate with
 counsel and her physician.
            This is not, as the government contends, an open and shut case for which bail should not
 be granted. Indeed, there are significant factual and legal issues that will be litigated in the months
 to come. When considered along with the history and background of Ms. Cincinelli, pre-trial
 release is warranted.


       HISTORY AND BACKGROUND, EMPLOYMENT, AND COMMUNITY TIES OF
                          VALERIE CINCINELLI

            While the evidence and nature of the offense are relevant in a detention determination, the
 history and background of Valerie Cincinelli are equally important. This is not, we respectfully
 submit, an individual for whom detention is appropriate.
            Valerie Cincinelli is 35 years of age and was raised in Long Beach, New York until she
 was in the 9th grade. She has three brothers - Sal, Louie and Nick, ages 41, 32, and 26. Her oldest
 brother has been a law enforcement officer for approximately 8 years and her two other brothers
 are gainfully employed, one as a business owner and the other an account executive at Indeed.com.
 Ms. Cincinelli’s father, Louis Cincinelli, was a decorated police officer with the NYPD for 27
 years before he retired.8 After he retired, Ms. Cincinelli moved to Virginia with her father and
 finished high school. She then attended Longwood University where she majored in criminology
 and political science. In high school Ms. Cincinelli was in the JR marine ROTC and in college she
 served in the army ROTC. After her graduation, Ms. Cincinelli returned to New York where she
 fulfilled her life-long dream of becoming a police officer, joining the NYPD in 2007.
            For the past twelve years, Ms. Cincinelli has served the public honorably as a New York
 City police officer. She has undergone high intensity drug trafficking enforcement training and has


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     Louis Cincinelli is also a veteran of the Vietnam war and was in the army reserves for twenty years.


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 received awards from the police department for her excellent service (See, Training Certificates
 and Service Awards, attached hereto collectively as Exhibit L). She has never been cited for
 excessive force of any kind. In addition to her service on the police force, Ms. Cincinelli joined
 the New York Guard, a military contingent that assists the National Guard when called into service
 in New York. This commitment is on a volunteer basis. In 2016, Ms. Cincinelli was awarded the
 Soldier of the Year Award (See, Soldier of the Year Award, attached hereto as Exhibit M).
        Ms. Cincinelli is the mother of two children, ages ten and five. Her oldest child was the
 result of a relationship with Erik Groh with whom the undersigned has spoken. Mr. Groh has
 related that while their romantic relationship ended years ago, they have remained close friends
 and have co-parented their daughter in a positive and productive way. Mr. Groh relates that Ms.
 Cincinelli is a devoted, doting and loving mother to their daughter and he fully supports her in this
 ordeal. Mr. Groh witnessed, as so many others close to Ms. Cincinelli have, the possessive, erratic,
 manipulative and dysfunctional nature of Mr. Dirubba. While Mr. Groh has taken custody of their
 daughter, he fully expects that Ms. Cincinelli will be exonerated and that he will return their
 daughter to her custody.
        Ms. Cincinelli’s five-year old son is the product of her marriage to Isaiah Carvalho, one of
 the alleged victims in this case. This was a troubled relationship marred by Carvalho’s violence
 against Ms. Cincinelli. Ms. Cincinelli filed several domestic incident reports (See, Domestic
 Incident Reports, attached hereto as Exhibit N) and Orders of Protection were issued against Mr.
 Carvalho on June 12, 2016, July 28, 2016 and August 7, 2017 (See, Orders of Protection, attached
 hereto as Exhibit O). Mr. Carvalho was arrested in Nassau County for one of these incidents and
 pled guilty to creating a Hazardous or Physically Offensive Condition. He was sentenced to a
 conditional discharge (See, Office of the District Attorney Nassau County Letter, attached hereto
 as Exhibit P). On August 24, 2016 after an evaluation by the Long Island Council on Alcoholism
 and Drug Dependence, Mr. Carvalho was recommended for an 8-hour anger management class
 (See, Anger Management Referral, attached hereto as Exhibit Q).
        Notwithstanding these incidents, Mr. Carvalho and Ms. Cincinelli have raised their child
 pursuant to a custody order issued on January 23, 2018 in which Ms. Cincinelli was awarded
 residential custody of the child with delineated visitation for Mr. Carvalho (See, Order of Custody
 and Parenting Time, attached hereto as Exhibit R). As for the pending divorce proceedings, Ms.
 Cincinelli and Mr. Carvalho arrived at a settlement agreement in January, 2019 that the parties



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 were comfortable with. Ms. Cincinelli did not contest Mr. Carvalho’s access to their child, and
 indeed afforded him as much visitation as he desired in order to ensure the father’s presence in the
 child’s life.
            Contrary to the assertions made by the government in the initial bail hearing, Ms. Cincinelli
 has not had orders of protection issued against her except for the one unfounded, and vacated order
 precipitated by Dirubba’s admittedly false allegations. She has been the victim of domestic
 violence and aside from the allegations Dirubba has sworn to be false, she has never been accused
 of violent behavior towards anyone. For twelve years she served as a police officer discharging
 her duties appropriately and without the use of unnecessary force. Thus, the government’s reliance
 on a propensity of violence is not supported by the facts.
            In addition to the above, we ask the Court to consider Ms. Cincinelli’s current health and
 conditions of confinement. As a result of the IAB complaint, Ms. Cincinelli was placed on
 modified duty and assigned to arraignments in King’s County. On or about September 14, 2018 a
 prisoner Ms. Cincinelli was transporting brutally attacked her during an attempted rape, causing a
 rotator cuff and head injury.9 Ms. Cincinelli was initially taken to NYU Langone Medical Center
 and later treated at the Orlin and Cohen Orthopedic Group in Garden City, New York by Dr. Mait.
 She was immobile for six weeks during which she underwent rotator cuff surgery. She was
 scheduled to begin physical therapy on her shoulder. We have subpoenaed her medical records
 and will provide them upon receipt. Her assailant is being prosecuted by the King’s County District
 Attorney’s Office by Assistant District Attorney Connie Salomayo who has confirmed that Ms.
 Cincinelli was initially treated at NYU Langone after the incident.10 Ms. Cincinelli is in pain at the
 Metropolitan Detention Center in Brooklyn and despite the docket entry directing medical
 attention at the initial arraignment, she has yet to be seen by a physician. Upon her hopeful release,
 Ms. Cincinelli would continue her treatment.
            Finally, we ask Your Honor to consider the onerous conditions of Ms. Cincinelli’s
 confinement. When she was initially detained, Ms. Cincinelli was confined to the Special Housing
 Unit (SHU) at the Metropolitan Detention Center [MDC] in Brooklyn. The conditions at MDC in


 9
     https://nypost.com/2018/09/14/inmate-tries-to-rape-nypd-officer-in-court/
 10
   People v Jeriah Bamugo, 06930-2018. Bamugo has been charged with Assault in the Second Degree (2 counts),
 Attempted Sexual Abuse in the Third Degree, Assault on a Police Officer and Sexual Assault on a Police Officer
 among other charges.


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 general, but in particular in the SHU, have been well documented. She was confined to a cell for
 24 hours, without medical attention or access to email to communicate with her family. She was
 permitted one 15-minute phone call per week, which she did not receive in her first two weeks
 there. Access to counsel and computers is limited as it takes at least one hour for counsel to be
 admitted to the SHU and for Ms. Cincinelli to be brought to the visiting area - where the
 temperature varies from bad to worse for reasons, it seems, no one will ever fully understand. After
 two weeks in the SHU, Ms. Cincinelli was transferred to general population. While these
 conditions are better in terms of contact with her family and counsel, she is a police officer in a
 population of dangerous and violent individuals who count police officers as their chief rivals in
 life. A repeat attack is a distinct possibility. Thus, she is left with the option of requesting the SHU
 for her safety – and sacrificing communication with counsel and family - or enduring the constant
 possibility of an attack.
         In sum, we respectfully submit that Ms. Cincinelli’s personal history and community ties
 and the additional circumstances detailed above warrant the granting of pre-trial release in this
 case. We submit the following bail package for the Court’s consideration.
         We propose a bond in the amount of $1,500,000.00 secured by four properties and co-
 signed by the several suretors listed below - all close family members and friends. This would be
 a fully collateralized bond. The terms of this release will be as strict as this court deems necessary
 – including home detention and any other geographic restrictions on travel supported by electronic
 monitoring, as well as the surrender of any and all travel documents. Ms. Cincinelli would also
 abide by any order that she not possess or use a cell phone for any reason. Ms. Cincinelli’s father
 has agreed to live with her at her residence. The only telephone on the premises would be the
 landline necessary for the implementation of the electronic monitoring. We ask only that Ms.
 Cincinelli be permitted to attend to her medical needs and meetings with counsel, with notification
 to pre-trial, and with the government and the Court’s approval. During any necessary medical
 travel an individual approved by the appropriate parties would travel with her. To follow is a list
 of the properties to be posted to secure the requested bond along with the proposed suretors.11


 Property 1:


 11
   We have redacted the personal information of the suretors to ensure their privacy and to avoid harassment. We will
 provide unredacted copies to the Court and government under separate cover.


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               Value: $500,000.00
               Debt: Approximately $300,000.00
               Equity: Approximately $200,000.00
               Owner: Valerie Cincinelli


 (Attached hereto as Exhibit S are Ms. Cincinelli’s documents associated with her property).


 Property 2:
               Value: $800,000.00
               Debt: Approximately $467,000.00
               Equity: Approximately $333,000.00
               Owners: Sal and Danielle Cincinelli
               Relationship to Ms. Cincinelli: Brother and sister-in-law


 (Attached hereto as Exhibit T are Mr. and Mrs. Cincinelli’s documents associated with their
 property).


 Property 3:
               Value: $700,000.00
               Debt: Approximately $493,000.00
               Equity: Approximately $207,000.00
               Owners: James and Patricia Baxter
               Relationship to Ms. Cincinelli: Uncle and Aunt


 (Attached hereto as Exhibit U are Mr. and Mrs. Baxter’s documents associated with their
 property).


 Property 4:
               Value: $550,000.00
               Debt: Approximately $248,000.00
               Equity: Approximately $302,000.00



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                Owners: Michael and Deborah Kosta
                Relationship to Ms. Cincinelli: Longstanding Family Friends


 (Attached hereto as Exhibit V are Mr. and Mrs. Kosta’s documents associated with their property).


 Suretor: Sal Cincinelli (Ms. Cincinelli’s brother)
     •   Date of Birth:
     •   Social Security Number:
     •   Employment: Law Enforcement Officer
     •   Salary: $150,000.00


 (Attached hereto as Exhibit W is a copy of Mr. Cincinelli’s identifying documents and 2018 Tax
 Return).


 Suretor: Danielle Cincinelli (Ms. Cincinelli’s sister-in-law)
     •   Date of Birth:
     •   Social Security Number:
     •   Employment: Nurse Practitioner – St. Francis Hospital
     •   Salary: $100,000.00


 (Attached hereto as Exhibit X is a copy of Mrs. Cincinelli’s identifying documents and 2018 Tax
 Return).


 Suretor: Louis B. Cincinelli (Ms. Cincinelli’s father)
     •   Date of Birth:
     •   Social Security Number:
     •   Employment: Retired NYPD / U.S. Army Officer
     •   Pension: $120,000.00


  (Attached hereto as Exhibit Y is a copy of Mr. Cincinelli’s identifying documents)
 .


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 Suretor: Louis M. Cincinelli (Ms. Cincinelli’s brother)
    •   Date of Birth:
    •   Social Security Number:
    •   Employment: Self-employed Online Entrepreneur
    •   Salary: $52,000.00


 (Attached hereto as Exhibit Z is a copy of Mr. Cincinelli’s identifying documents and 2018 Tax
 Return).


 Suretor: Nicholas Cincinelli (Ms. Cincinelli’s brother)
    •   Date of Birth:
    •   Social Security Number:
    •   Employment: Account Executive – Indeed.Com
    •   Salary: $110,000.00


 (Attached hereto as Exhibit AA is a copy of Mr. Cincinelli’s identifying documents and 2018 Tax
 Return).


 Suretor: Richard Sautner (Longstanding Family Friend)
    •   Date of Birth:
    •   Social Security Number:
    •   Employment: FDNY Lieutenant
    •   Salary: $135,000.00


 (Attached hereto as Exhibit BB is a copy of Mr. Sautner’s identifying documents and 2018 Tax
 Return).


 Suretor: Michael Kosta (Longstanding Family Friend)
    •   Date of Birth:
    •   Social Security Number:
    •   Employment: Manager at Kamco Supply Co.


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    •   Salary: $200,000.00


 (Attached hereto as Exhibit CC is a copy of Mr. Kosta’s identifying documents and 2018 Tax
 Return).


 Suretor: Patricia Baxter (Ms. Cincinelli’s aunt)
    •   Date of Birth:
    •   Social Security Number:
    •   Employment: Administrator/Bookeeper for Long Beach School District
    •   Salary: $81,000.00


 (Attached hereto as Exhibit DD is a copy of Mrs. Baxter’s identifying documents and 2018 Tax
 Return).


        The suretors in this case are Ms. Cincinelli’s closest family members – her father, brothers,
 sister-in-law and longstanding family friends. The total equity in the houses being posted is
 $1,042,000.00 and the salaries of the suretors combined is $948,000.00. All of these individuals
 are placing their future financial stability on the line with this bond, yet they do so with an abiding
 faith that their daughter, sister and friend would never leave them destitute. With their dependents,
 there are at least 24 men, women and children who will be affected by the consequent indebtedness
 to the government and the ensuing financial ruin that would follow if Ms. Cincinelli were to flee
 or violate any conditions of her bond. They know her best, and each of them has expressed their
 unequivocal certainty that Ms. Cincinelli would never put their financial lives and well-being at
 risk. They are confident that both her character and her love and commitment for her family and
 friends combine to make the possibility of her flight from this Court’s jurisdiction non- existent.
 She will not flee or violate any conditions of release imposed by this Honorable Court.




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                                           CONCLUSION
          Based upon the foregoing, it is respectfully submitted that there exist reasonable conditions
 of release sufficient to assure Ms. Cincinelli’s compliance with a bond. As such, it is respectfully
 requested that the Court grant Ms. Cincinelli’s pre-trial release in this matter.



 Dated:          June 13, 2019
                 New York, New York


                                                        Respectfully Submitted,


                                                                       /s/

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 cc:      Hon. Sandra J. Feuerstein

          Catherine Mary Mirabile,
          Lara Gatz,
          Assistant United States Attorneys

          Valerie Cincinelli




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